                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


 JEANNE SACKLOW, et al., individually           )
 and on behalf of all others similarly          )
 situated,                                      )
                                                )
         Plaintiffs,                            )   NO. 3:18-cv-00360
                                                )
 v.                                             )
                                                )
 SAKS INCORPORATED,                             )
                                                )
         Defendant.                             )

                                           ORDER

        For the reasons stated in the accompanying Memorandum Opinion, Saks Incorporated’s

Motion to Transfer Venue Pursuant to 28 U.S.C. § 1404(a) (Doc. No. 55) is GRANTED. The

Clerk of Court SHALL transfer this case to the U.S. District Court for the Southern District of

New York and close the file.

        IT IS SO ORDERED.



                                           ____________________________________
                                           WAVERLY D. CRENSHAW, JR.
                                           CHIEF UNITED STATES DISTRICT JUDGE




      Case 3:18-cv-00360 Document 92 Filed 05/06/19 Page 1 of 1 PageID #: 810
